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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



SYMBOLOGY INNOVATIONS, LLC,
                                                         CIVIL ACTION NO. 2:17-CV-02076-
                                  Plaintiff,             CCC-JBC

                      v.                                 DEFENDANT ATLANTIC CITY
                                                         ELECTRIC COMPANY’S ANSWER
ATLANTIC CITY ELECTRIC COMPANY,                          TO PLAINTIFF SYMBOLOGY
                                                         INNOVATIONS, LLC’S COMPLAINT
                                  Defendant.             FOR ALLEGED INFRINGEMENT OF
                                                         PATENT AND COUNTERCLAIMS
                                                         PURSUANT TO FED. R. CIV. P. 13



               Defendant Atlantic City Electric Company (“Atlantic City Electric”), by and

through its attorneys, for its Answer, Affirmative Defenses, and Counterclaims to Plaintiff

Symbology Innovations, LLC’s (“Symbology”) Complaint, states as follows:

                                     NATURE OF THE ACTION

               1.          Atlantic City Electric admits that the Complaint purports to state claims

against Atlantic City Electric under the patent laws of the United States, Title 35 of the United

States Code regarding the alleged infringement of U.S. Patent Nos. 8,424,752 (“the ‘752

Patent”); 8,651,369 (“the ‘369 Patent”); 8,936,190 (“the ‘190 Patent”); and 7,992,773 (“the ‘773


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Patent”) (collectively, “the Patents-in-Suit”), but denies the legal sufficiency of Symbology’s

claims and allegations. Atlantic City Electric admits that Symbology seeks injunctive relief as

well as damages, attorney fees, and costs, but denies the legal sufficiency of Symbology’s

alleged entitlement to such relief.

                                           THE PARTIES

                2.      Atlantic City Electric lacks knowledge or information sufficient to form a

belief as to the truth of the allegations of this Paragraph.

                3.      Admitted.

                                  JURISDICTION AND VENUE

                4.      Atlantic City Electric admits that this Court has subject matter jurisdiction

over this case. Any remaining allegations in this Paragraph are legal conclusions to which

Atlantic City Electric is not required to respond. To the extent this Paragraph includes allegations

to which a response is required, Atlantic City Electric denies those allegations.

                5.      Atlantic City Electric admits that this Court has personal jurisdiction over

Atlantic City Electric. Atlantic City Electric denies any remaining allegations of this Paragraph.

                6.      Atlantic City Electric admits that this Court has personal jurisdiction over

Atlantic City Electric. Atlantic City Electric denies any remaining allegations of this Paragraph.

                7.      Denied.

                8.      Denied.

                9.      Denied.

                10.     Atlantic City Electric admits that venue is proper in this judicial district.

Any remaining allegations in this Paragraph are legal conclusions to which Atlantic City Electric

is not required to respond. To the extent this Paragraph includes allegations to which a response

is required, Atlantic City Electric denies those allegations.


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                                   FACTUAL ALLEGATIONS

                                            (‘752 Patent)

                11.     Denied.

                12.     Atlantic City Electric lacks knowledge or information sufficient to form a

belief as to the truth of the allegations of this Paragraph.

                13.     Denied.

                14.     Denied.

                                            (‘369 Patent)

                15.     Denied.

                16.     Atlantic City Electric lacks knowledge or information sufficient to form a

belief as to the truth of the allegations of this Paragraph.

                17.     Denied.

                18.     Denied.

                                            (‘190 Patent)

                19.     Denied.

                20.     Atlantic City Electric lacks knowledge or information sufficient to form a

belief as to the truth of the allegations of this Paragraph.

                21.     Denied.

                22.     Denied.

                                            (‘773 Patent)

                23.     Denied.

                24.     Atlantic City Electric lacks knowledge or information sufficient to form a

belief as to the truth of the allegations of this Paragraph.

                25.     Denied.


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               26.    Denied.

                                          COUNT I
                           Alleged Infringement of the ‘752 Patent

               27.    Atlantic City Electric repeats and incorporates by reference its responses

to the allegations of Paragraphs 1 through 26 of the Complaint.

               28.    Denied.

               29.    Denied.

               30.    Denied.

               31.    Denied.

               32.    Denied.

               33.    Denied.

               34.    Denied.

               35.    Denied.

               36.    Denied.

               37.    Denied.

               38.    Denied.

               39.    Denied.

               40.    Denied.



                                         COUNT II
                           Alleged Infringement of the ‘369 Patent

               41.    Atlantic City Electric repeats and incorporates by reference its responses

to the allegations of Paragraphs 1 through 40 of the Complaint.

               42.    Denied.

               43.    Denied.


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               44.    Denied.

               45.    Denied.

               46.    Denied.

               47.    Denied.

               48.    Denied.

               49.    Denied.

               50.    Denied.

               51.    Denied.

               52.    Denied.

               53.    Denied.

               54.    Denied.

                                         COUNT III
                           Alleged Infringement of the ‘190 Patent

               55.    Atlantic City Electric repeats and incorporates by reference its responses

to the allegations of Paragraphs 1 through 54 of the Complaint.

               56.    Denied.

               57.    Denied.

               58.    Denied.

               59.    Denied.

               60.    Denied.

               61.    Denied.

               62.    Denied.

               63.    Denied.

               64.    Denied.



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               65.    Denied.

               66.    Denied.

               67.    Denied.

               68.    Denied.

                                         COUNT IV
                           Alleged Infringement of the ‘773 Patent

               69.    Atlantic City Electric repeats and incorporates by reference its responses

to the allegations of Paragraphs 1 through 68 of the Complaint.

               70.    Denied.

               71.    Denied.

               72.    Denied.

               73.    Denied.

               74.    Denied.

               75.    Denied.

               76.    Denied.

               77.    Denied.

               78.    Denied.

               79.    Denied.

               80.    Denied.

               81.    Denied.

               82.    Denied.

               83.    Denied.




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                                  DEMAND FOR JURY TRIAL

                84.     Atlantic City Electric admits that Symbology demands a trial by jury on

all issues so triable. Atlantic City Electric likewise requests a trial by jury of all issues so triable

pursuant to Rule 38 of the Federal Rules of Civil Procedure.

                                      PRAYER FOR RELIEF

                Atlantic City Electric denies that Symbology is entitled to any of the relief sought

in its Prayer for Relief, including subparts (a)-(f).




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                                  AFFIRMATIVE DEFENSES

               Atlantic City Electric asserts the following affirmative defenses to Symbology’s

claims. The assertion of an affirmative defense is not a concession that Atlantic City Electric has

the burden of proving the matter asserted.

                              FIRST AFFIRMATIVE DEFENSE

               Symbology’s Complaint fails to state a claim upon which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE

               Atlantic City Electric does not infringe and has not infringed any valid and

enforceable claim of the Patents-in-Suit literally, under the doctrine of equivalents, or under any

other grounds that Symbology may assert.

                              THIRD AFFIRMATIVE DEFENSE

               The claims of the Patents-in-Suit are invalid for failure to meet the requirements

of the Patent Act, 35 U.S.C. § 1 et seq., including, but not limited to, 35 U.S.C. §§ 101, 102, 103,

and/or 112.

                            FOURTH AFFIRMATIVE DEFENSE

               Any claim by Symbology for damages is limited under 35 U.S.C. §§ 286, 287,

and/or 288. Symbology is barred under 35 U.S.C. § 286 from recovering damages for acts

occurring more than six years prior to the date of the filing of the Complaint.

                              FIFTH AFFIRMATIVE DEFENSE

               Symbology’s claim of infringement with respect to the Patents-in-Suit is barred,

in whole or in part, by the doctrine of prosecution history estoppel.

                              SIXTH AFFIRMATIVE DEFENSE

               Symbology’s claim of infringement with respect to the Patents-in-Suit is barred,

in whole or in part, by the doctrines of estoppel, implied license, and/or waiver.


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                                       COUNTERCLAIMS

               Defendant Atlantic City Electric, by and through its attorneys, hereby

counterclaims as follows against Symbology Innovations, LLC (“Symbology”):

                              NATURE AND BASIS OF ACTION

               1.      The Counterclaims seek a declaration pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, that Atlantic City Electric does not infringe any

valid, enforceable claim of U.S. Patent Nos. 8,424,752 (“the ‘752 Patent”); 8,651,369 (“the ‘369

Patent”); 8,936,190 (“the ‘190 Patent”); and 7,992,773 (“the ‘773 Patent”) (collectively, “the

Patents-in-Suit”), and that the Patents-in-Suit are invalid.

                                          THE PARTIES

               2.      Atlantic City Electric is a New Jersey corporation with its principal place

of business at 5100 Harding Highway, Mays Landing, NJ 08330.

               3.      According to Paragraph 2 of Symbology’s Complaint, Symbology is a

Texas corporation with its principal place of business at 1400 Preston Road, Suite 400, Plano,

TX 75093.

                                 JURISDICTION AND VENUE

               4.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338, in that this case arises under the United States Patent Act, 35 U.S.C. §

1 et seq.

               5.      This Court has personal jurisdiction over Symbology because Symbology

has submitted to the jurisdiction of this Court by bringing the instant action.

               6.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and

1400.




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                                 COUNT ONE
           DECLARATION OF NON-INFRINGEMENT OF THE PATENTS-IN-SUIT

                7.      Atlantic City Electric hereby incorporates by reference and realleges each

 and every allegation in Paragraphs 1 through 6 above as if fully set forth herein.

                8.      By virtue of Symbology’s filing of the Complaint herein, an actual

 controversy exists between Atlantic City Electric and Symbology with respect to Atlantic City

 Electric’s alleged infringement of the Patents-in-Suit.

                9.      Atlantic City Electric has not infringed any valid claim of the Patents-in-

 Suit literally, under the doctrine of equivalents, or under any other grounds that Symbology may

 assert.

                10.     As a result of Symbology’s lawsuit against Atlantic City Electric, the

 present dispute has sufficient immediacy and reality to require declaratory judgment.

                11.     Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. § 2201 et

 seq., Atlantic City Electric is entitled to a declaration that Atlantic City Electric has not infringed

 and does not infringe the Patents-in-Suit.

                                COUNT TWO
              DECLARATION OF INVALIDITY OF THE PATENTS-IN-SUIT

                12.     Atlantic City Electric hereby incorporates by reference and realleges each

 and every allegation in Paragraphs 1 through 11 above as if fully set forth herein.

                13.     By virtue of Symbology’s filing of the Complaint herein, an actual

 controversy exists between Atlantic City Electric and Symbology with respect to the validity of

 the Patents-in-Suit.

                14.     One or more claims of the Patents-in-Suit are invalid or void for failure to

 meet the requirements of the Patent Act, 35 U.S.C. § 1 et seq., including, but not limited to, 35

 U.S.C. §§ 101, 102, 103, and/or 112.


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                 15.     As a result of Symbology’s lawsuit against Atlantic City Electric, the

 present dispute has sufficient immediacy and reality to require declaratory judgment.

                 16.     Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. § 2201 et

 seq., Atlantic City Electric is entitled to a declaration that the Patents-in-Suit are invalid.

                                   RESERVATION OF RIGHTS

                 Atlantic City Electric reserves the right to add any additional defenses or

 counterclaims that discovery might reveal.

                                       PRAYER FOR RELIEF

                 WHEREFORE, having fully answered and defended, Atlantic City Electric prays

 that:

                 (1)     Symbology take nothing by its Complaint;

                 (2)     Symbology’s Complaint be dismissed in its entirety with prejudice and

                         judgment be entered for Atlantic City Electric and against Symbology on

                         each and every count of the Complaint;

                 (3)     The Court enter a declaratory judgment that Atlantic City Electric does not

                         infringe any valid claim of the Patents-in-Suit literally, directly, under the

                         doctrine of equivalents, or under any other grounds that Symbology may

                         assert;

                 (4)     The Court enter a declaratory judgment that the Patents-in-Suit are invalid;

                 (5)     The Court enter a declaratory judgment that the Patents-in-Suit are

                         unenforceable;

                 (6)     The Court find this case to be exceptional pursuant to 35 U.S.C. § 285 and

                         award Atlantic City Electric its reasonable attorney fees in this action;

                 (7)     All costs be taxed against Symbology; and


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                (8)    Atlantic City Electric be granted such other different and additional relief

                       as this Court deems just and proper.



 Respectfully submitted, this 26th day of June, 2017.




                                             By:        /s/ Casey G. Watkins

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